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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  NORTHERN DIVISION


SHERI L. SCHUMANN TAX                         CASE NO. 20-12924
& ACCOUNTING, INC., et al.,

               Plaintiffs,                    DISTRICT JUDGE THOMAS L. LUDINGTON
                                              MAGISTRATE JUDGE PATRICIA T. MORRIS
v.

JOHN DOES, et al.,

               Defendants.
                                          /


                           CORRECTED NOTICE TO APPEAR
                      FOR SETTLEMENT CONFERENCE VIA ZOOM

        PLEASE TAKE NOTICE that the above-entitled matter has been scheduled for

settlement proceedings on October 14, 2021 at 10:00 a.m., before Magistrate Judge Patricia

T. Morris via Zoom. The zoom link will be sent to attorneys of record via e-mail. All parties

with settlement authority are required to be present. Failure to produce the appropriate

person(s) at the conference may result in an award of costs and attorney fees incurred by the

other parties in connection with the conference and/or other sanctions against the

noncomplying party and/or counsel.

        At least seven (7) days prior to the settlement conference, each party must submit a

confidential settlement statement to the Magistrate Judge’s chambers via facsimile at 989-894-

8819.

        The settlement statement will not become a part of the case file but will be for the

exclusive use of the Magistrate Judge in preparing for and conducting the settlement

conference. These statements are not to be filed on the court’s electronic record and copies
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must not be provided to the other parties in the case. The statements shall be limited to five

(5) pages and shall include the following:

       -A short summary of the facts, including a discussion of the strengths and weaknesses
       of the case (while mindful that the magistrate judge is not trying the case or deciding
       dispositive motions at this point);

       -The parties’ position on settlement, including a present settlement proposal;

       -A report on settlement efforts to date and reasons for rejection of any offers;

       -If not already part of the court file, copies of any critical agreements, business records,
       photographs or other documents or exhibits must be attached to the settlement
       statement;

       The parties are encouraged to be candid in their statements and should provide

sufficient information so the Magistrate Judge is informed of the factual and legal issues in the

case. The summary should identify the remaining issues in the case and the evidence that

supports the party’s position on those issues. One attorney for each party should be prepared to

give a short summary of their case at the beginning of the settlement conference.

Date: August 13, 2021                             S/ patricia t. morris
                                                  Patricia T. Morris
                                                  United States Magistrate Judge
